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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


UNITED STATES OF AMERICA                       §
                                               §
                                               §
                                               §
v.                                             §            CASE NO. 6:09-CR-74(02)
                                               §
                                               §
                                               §
LAKENDRIC MILLER,                              §


                         MEMORANDUM OPINION AND ORDER


       Having considered Defendant’s Motion to Revoke Pretrial Detention Order and the

Government’s response thereto, Defendant’s Motion to Revoke Pretrial Detention Order is

DENIED.

                                       BACKGROUND

       Defendant Lakendric Miller is charged with conspiracy to launder monetary instruments and

money laundering and attempted money laundering in violation of 18 U.S.C. § 1956(h). Miller was

arrested and presented before Magistrate Judge Guthrie on May 27, 2009. Miller pled not guilty and

was detained pending a hearing on June 3, 2009. At the detention hearing, Judge Guthrie found that

there was a serious risk that Miller would endanger the safety of another person or the community.

Accordingly, she ordered him detained before trial.

                                     APPLICABLE LAW

       Under 18 U.S.C. § 3145(b), a criminal defendant is entitled to have a magistrate judge’s

detention order reviewed by “the court having original jurisdiction over the offense.” 18 U.S.C. §

3145(b). “When the district court acts on a motion to revoke or amend a magistrate’s pretrial
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detention order, the district court acts de novo and must make an independent determination of the

proper pretrial detention or conditions for release.” United States v. Rueben, 974 F.2d 580, 585-86

(5th Cir.1992).

       18 U.S.C. § 3142 governs pretrial detention of criminal defendants. A judicial officer will

order detention of a person before trial if, after a hearing held upon motion of the government, “the

judicial officer finds that no condition or combination of conditions will reasonably assure the

appearance of the person as required and the safety of any other person and the community.” 18

U.S.C. § 3142(e). “The facts the judicial officer uses to support a finding . . . that no condition or

combination of conditions will reasonably assure the safety of any other person and the community

shall be supported by clear and convincing evidence.” 18 U.S.C. § 3142(f). The judicial officer’s

determination of whether there are conditions of release that will reasonably assure the safety of any

other person and the community takes into account

       (1) the nature and circumstances of the offense charged . . . ;

       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including–

                  (A) the person’s character, physical and mental condition, family ties, employment,

                  financial resources, length of residence in the community, community ties, past

                  conduct, history relating to drug or alcohol abuse, criminal history, and record

                  concerning appearance at court proceedings; and

                  (B) whether, at the time of the current offense or arrest, the person was on probation,

                  on parole, or on other release pending trial, sentencing, appeal, or completion of

                  sentence for an offense under Federal, State, or local law; and

       (4) the nature and seriousness of the danger to any person or the community that would be
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       posed by the person’s release . . . .

18 U.S.C. § 3142(g).

                                               ANALYSIS

Risk to the Safety of Others

       Judge Guthrie found that Miller presented a danger to the community, and therefore ordered

him detained. Upon review of the record, including a transcript of the detention hearing, the Court

agrees that the Government has established by clear and convincing evidence that no condition or

combination of conditions of release can reasonably assure the safety of the community against the

danger that Miller would present while on release.

       Judge Guthrie found that there was a serious risk that the defendant would endanger the

safety of another person or the community. First, Judge Guthrie found that the evidence showed that

Miller was in possession of law enforcement reports from other drug investigations that named him

as a drug dealer. Second, she found that he had access to large amounts of cash, but had no

employment history. Third, Judge Guthrie found that Miller had threatened, with a gun, a person

he thought had stolen a necklace from him. Finally, she found that searches of his house turned up

drug paraphernalia, which indicates drug dealing. As a result, Judge Guthrie found that Miller was

a danger to witnesses and the community. Further, Miller may face a sentence of twenty to thirty

years in jail based on the charged offenses and the evidence against him. Based on the foregoing and

applying the factors of § 3142(g), the Court finds that Miller presents a serious risk to the community

and that conditions of release are unlikely to mitigate this danger.

Eligibility for a Detention Hearing

       The Court declines to adopt Miller’s attempt to mandate an eligibility proffer prior to holding

a detention hearing. Miller cites to the District of Columbia Circuit’s decision in United States v.
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Singleton, which states that “a detention order is based on a hearing, while an order to hold a hearing

is based on a proffer of what the hearing might establish,” in support of its proposition. 182 F.3d 7,

12 (D.C. Cir. 1999). However, the Singleton Court was specifically determining whether the Bail

Reform Act requires courts to identify crimes of violence under § 3142(f)(1)(A) on a categorical or

case-by-case basis. Id. at 10. Its rejection of the case-by-case approach, which reviews the nature

of the offense at the hearing to determine whether the hearing itself is appropriate, in favor of the

categorical approach for identifying which crimes are violent offenses is distinguishable from the

present case. See id. at 12.

       Accordingly, Miller’s assertion that the eligibility proffer must be made prior to holding a

detention hearing is unsupported. In the present case, the government was not attempting to classify

and prove Miller’s crime was a crime of violence based on the evidence offered at the detention.

Judge Guthrie properly recognized the separate requirements of determining that the defendant meets

the criteria for being eligible for a detention hearing and that the defendant should be detained. The

government stated its grounds under § 3142(f)(2) for the detention hearing, that there was a serious

risk that Miller would flee or would attempt to obstruct justice or threaten, injure, or intimidate or

attempt to do so to any perspective witness or juror. Then, at the hearing, the parties offered

evidence and Judge Guthrie found that Miller, if released, was a danger to the community and other

witnesses. Therefore, the Court finds that the proper procedure was conducted and the required

findings were made by Judge Guthrie in determining Miller was eligible for detention and should

be detained.

                                          CONCLUSION

       Miller is a serious risk to the safety of the community. Additionally, Judge Guthrie made the

required findings for detention hearing eligibility and pretrial detention. Accordingly, Defendant’s
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Motion to Revoke Pretrial Detention Order is DENIED.


           So ORDERED and SIGNED this 29th day of September, 2009.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE
